Case 08-14631-GMB   Doc 317-6 Filed 05/21/08 Entered 05/21/08 13:15:20   Desc
                        Proposed Order Page 1 of 3




                         EXHIBIT E
Case 08-14631-GMB       Doc 317-6 Filed 05/21/08 Entered 05/21/08 13:15:20          Desc
                            Proposed Order Page 2 of 3




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                        UNITED STATES BANKRUPTCY COURT
                             DISTRICT OF NEW JERSEY


  In re:                                            :    Chapter 11
                                                    :
  SHAPES/ARCH HOLDINGS, LLC, et al.,                :    Case No. 08-14631 (GMB)
                                                    :    (Jointly Administered)
           Debtors.                                 :
                                                    :    Hearing Date:
                                                         May __, 2008 at ___ _.m.

              ORDER VACATING AUTOMATIC STAY OF 11 U.S.C. § 362

           The relief set forth on the following page is hereby ORDERED and GRANTED.



  Dated: May ___, 2008                       __________________________________
                                             The Honorable Gloria M. Burns
                                             United States Bankruptcy Court Judge




                                            2
Case 08-14631-GMB        Doc 317-6 Filed 05/21/08 Entered 05/21/08 13:15:20                Desc
                             Proposed Order Page 3 of 3



         Upon the motion of De Lage Landen Financial Services, Inc. (the “Movant”) for
  relief from the automatic stay of 11 U.S.C. § 362 as to certain property of the Debtors as
  herein after set forth, and for good and sufficient cause shown, it is

         ORDERED that the automatic stay of 11 U.S.C. § 362 is vacated to the extent
  necessary to allow the Movant to exercise its rights under applicable non-bankruptcy law
  in the following personal property:
         HYSTER Forklift Model H60XM, s/n H177B51607B
         HYSTER Forklift Model H60XM, s/n H177B57841C
         HYSTER Forklift Model H110XM, s/n L005V05877C
         HYSTER Forklift Model H110XM w/ Rotator, s/n L005V05876C
         HYSTER Forklift Model H60XM, s/n H177B34386Z
         HYSTER Forklift Model H60XM, s/n H177B34422Z
         HYSTER Forklift Model H60FT, s/n L177B01761C
         HYSTER Forklift Model H60FT, s/n L177B01776C
         HYSTER Forklift Model H155XL2, s/n G006V03416C
         HYSTER Forklift Model H155XL2, s/n G006V03418C
         HYSTER Forklift Model H155XL2, s/n G006V03422C
         HYSTER Forklift Model H60FT, s/n L177B03333C
         HYSTER H60FT Forklift, s/n L177B01775C
         HYSTER H60FT Forklift, s/n L177B03453C
         NISSAN PL60LP Forklift, s/n UG1F2-9L0009
         SAVIN Copier Model 99450PE w/ AROF, Finisher, Print Control, NIC, Console,
              s/n 5306400051
         MINOLTA Digital Copier Model Di551, s/n 31008842
         MINOLTA Digital Copier Model Di551, s/n 31011587
         KONICA MINOLTA Copier Model Di551, s/n 31006854

         It is further ORDERED that the Movant may join the Debtors and any trustee
  appointed in this case as defendants in its action(s) irrespective of anyconversion to any
  other chapter of the Bankruptcy Code.

         It is further ORDERED that this Order shall become effective immediately upon
  entry by the Court.

         The Movant shall serve this Order on the Debtors, their counsel, counsel for the
  Official Committee, the United States Trustee, any trustee appointed in the case, and any
  other party who entered an appearance on the motion.




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